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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


Civil Action No.


LEVENT TUNCEL, Individually and on Behalf of All Others Similarly Situated,

                   Plaintiff,

       v.

ZYNEX, INC.,
THOMAS SANDGAARD, and
DANIEL MOORHEAD,

                   Defendants.



 CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES
                              LAWS
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       Plaintiff Levent Tuncel (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief,

except as to those allegations concerning Plaintiff, which are alleged upon personal

knowledge. Plaintiff’s information and belief is based upon, among other things, his

counsel’s investigation, which includes without limitation: (a) review and analysis of

regulatory filings made by Zynex, Inc. (“Zynex” or the “Company”) with the United States

(“U.S.”) Securities and Exchange Commission (“SEC”); (b) review and analysis of press

releases and media reports issued by and disseminated by Zynex; and (c) review of other

publicly available information concerning Zynex.

                      NATURE OF THE ACTION AND OVERVIEW

       1.     This is a class action on behalf of persons and entities that purchased or

otherwise acquired Zynex securities between March 13, 2023 to March 11, 2025,

inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants under the

Securities Exchange Act of 1934 (the “Exchange Act”).

       2.     Zynex is a medical device manufacturer that produces and markets

electrotherapy devices for use in pain management and physical rehabilitation. The

Company’s products are small, battery powered electronic devices which deliver electric

pulses via wires and electrode pads.

       3.      On June 4, 2024, medical journal STAT published a report on Zynex entitled

“How a device maker inundated pain patients with unwanted batteries and surprise bills.”

The report claimed Zynex engaged in an “oversupplying scheme” by sending inordinate

amounts of monthly supplies like electrode pads and batteries in order to “bill insurers for



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thousands of dollars more than it otherwise could.” The report further revealed that, as a

result of this practice, insurers were “kicking the company out of network.”

       4.     On this news, Zynex’s stock price fell $0.50 per share, or 5%, to close at

$9.35 per share on June 4, 2024, on unusually heavy trading volume.

       5.     On March 11, 2025, after the market closed, Zynex reported its fourth

quarter and full year 2024 financial results, revealing a significant revenue “shortfall” in

the quarter “due to slower than normal payments from certain payers.” Zynex further

revealed “Tricare has temporarily suspended payments as they review prior claims.”

Tricare is the health insurance program for the U.S. military.

       6.     On this news, Zynex’s stock price fell $3.59 per share, or 51.3%, to close at

$3.41 per share on March 12, 2025, on unusually heavy trading volume.

       7.     Throughout the Class Period, Defendants made materially false and/or

misleading statements, as well as failed to disclose material adverse facts about the

Company’s business, operations, and prospects. Specifically, Defendants failed to

disclose to investors: (1) that Zynex shipped products, including electrodes, in excess of

need; (2) that, as a result of this practice, the Company inflated its revenue; (3) that the

Company’s practice of filing false claims drew scrutiny from insurers, including Tricare;

(4) that, as a result, it was reasonably likely that Zynex would face adverse consequences,

including removal from insurer networks and penalties from the federal government; and

(5) that, as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects were materially misleading and/or lacked

a reasonable basis.



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       8.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class

members have suffered significant losses and damages.

                               JURISDICTION AND VENUE

       9.     The claims asserted herein arise under Sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder

by the SEC (17 C.F.R. § 240.10b-5).

       10.    This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       11.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of

the alleged fraud or the effects of the fraud have occurred in this Judicial District. Many

of the acts charged herein, including the dissemination of materially false and/or

misleading information, occurred in substantial part in this Judicial District. In addition, the

Company’s principal executive offices are located in this District.

       12.    In connection with the acts, transactions, and conduct alleged herein,

Defendants directly and indirectly used the means and instrumentalities of interstate

commerce, including the United States mail, interstate telephone communications, and

the facilities of a national securities exchange.

                                          PARTIES

       13.    Plaintiff Levent Tuncel, as set forth in the accompanying certification,

incorporated by reference herein, purchased Zynex securities during the Class Period,



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and suffered damages as a result of the federal securities law violations and false and/or

misleading statements and/or material omissions alleged herein.

       14.    Defendant Zynex is incorporated under the laws of Nevada with its principal

executive offices located in Englewood, Colorado. Zynex’s common stock trades on the

NASDAQ exchange under the symbol “ZYXI.”

       15.    Defendant Thomas Sandgaard (“Sandgaard”) is the founder and was the

Company’s Chief Executive Officer (“CEO”) at all relevant times.

       16.    Defendant Daniel Moorhead (“Moorhead”) was the Company’s Chief

Financial Officer (“CFO”) at all relevant times.

       17.    Defendants     Sandgaard     and     Moorhead   (together,   the   “Individual

Defendants”), because of their positions with the Company, possessed the power and

authority to control the contents of the Company’s reports to the SEC, press releases and

presentations to securities analysts, money and portfolio managers and institutional

investors, i.e., the market. The Individual Defendants were provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly

after, their issuance and had the ability and opportunity to prevent their issuance or cause

them to be corrected. Because of their positions and access to material non-public

information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public,

and that the positive representations which were being made were then materially false

and/or misleading. The Individual Defendants are liable for the false statements pleaded

herein.



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                            SUBSTANTIVE ALLEGATIONS

                                       Background

      18.    Zynex is a medical device manufacturer that produces and markets

electrotherapy devices for use in pain management and physical rehabilitation. The

Company’s products are small, battery powered electronic devices which deliver electric

pulses via wires and electrode pads.

                           Materially False and Misleading

                     Statements Issued During the Class Period

      19.    The Class Period begins on March 13, 2023. On that day, Zynex announced

its fourth quarter and full year 2022 financial results in a press release for the period

ended December 31, 2022, stating as follows in relevant part:

      2022 Fourth Quarter Highlights:
         • Orders increased 48%; highest number of orders in Company history
            for the 3rd consecutive quarter
         • Revenue increased 21% year over year to $48.8 million
         • Net income of $7.5 million; Diluted EPS $0.20
         • Adjusted EBITDA of $11.4 million

      2022 Full Year Highlights:
         • Orders increased 23%
         • Revenue increased 21% year over year to $158.2 million
         • Net income of $17.0 million; Diluted EPS of $0.44
         • Adjusted EBITDA increased 5% to $28.1 million
         • 7th straight year of profitability

      Fourth Quarter Financial Results Summary:

      For the fourth quarter, the Company reported net revenue of $48.8 million,
      a 21% increase over fourth quarter of 2021. Gross margins were 81% and
      net income was $7.5 million, a 53% increase from Q3 2022.




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       20.         On March 14, 2023, the Company submitted its annual report for the fiscal

year ended December 31, 2022 on a Form 10-K filed with the SEC, affirming the

previously reported financial results (the “2022 10-K”). The report purported to warn, in

relevant part: 1

       We are dependent on reimbursement from third-party payers, most of
       whom are larger than we are and have substantially more employees
       and financial resources; changes in insurance reimbursement
       policies or application of them have resulted in decreased or delayed
       revenues.

       A large percentage of our revenues come from third-party payer
       reimbursement. Most of the third-party payers are large insurance
       companies with substantially more resources than we have. Upon delivery
       of our products to our patients, we directly bill the patients’ private insurance
       companies or government payers for reimbursement. If the third-party
       payers do not remit payment on a timely basis or if they change their policies
       to exclude or reduce coverage for our products, we would experience a
       decline in our revenue as well as cash flow. In addition, we may deliver
       products to patients and invoice based on past practices and billing
       experiences only to have third-party payers later deny coverage for such
       products.

       In some cases, our delivered product may not be covered pursuant to a
       policy statement of a third-party payer, despite a payment history with the
       third-party payer and benefits to the patients. A third-party payer may
       seek repayment of amounts previously paid for covered products. We
       maintain an allowance for provider discounts and amounts intended to
       cover legitimate requests for repayment. Failure to adequately identify and
       provide for amounts for resolution of repayment demands in our allowance
       for provider discounts could have a material adverse effect on our results of
       operations and cash flows. For government health care programs, if we
       identify a deficiency in prior claims or practices, we may be required
       to repay amounts previously reimbursed to us by government health
       care programs.




1 Unless otherwise stated, all emphasis in bold and italics hereinafter is added, and all

footnotes are omitted.


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       We frequently receive, and expect to continue to receive, refund requests
       from insurance providers relating to specific patients and dates of service.
       Billing and reimbursement disputes are very common in our industry. These
       requests are sometimes related to a few patients, and other times include
       a significant number of refund claims in a single request which can
       accumulate to a significant amount. We review and evaluate these requests
       and determine if any refund is appropriate. During the adjudication process
       we review claims where we are rebilling or pursuing additional
       reimbursement from that insurance provider. We frequently have significant
       offsets against such refund requests which may result in amounts that are
       due to us in excess of the amounts of refunds requested by the insurance
       providers. Therefore, at the time of receipt of such refund requests, we are
       generally unable to determine if a refund request is valid. Although we
       cannot predict whether or when a request for repayment or our subsequent
       request for reimbursement will be resolved, it is not unusual for such matters
       to be unresolved for a long period of time. No assurances can be given with
       respect to our estimates for our allowance for provider discounts refund
       claim reimbursements and offsets or the ultimate outcome of the refund
       requests.

       21.     The 2022 10-K also purported to warn that governmental audits “could”

affect financial results, stating in relevant part:

       We face periodic reviews and billing audits from governmental and
       private payers, and these audits could have adverse results that may
       negatively impact our business.

       As a result of our participation in the Medicaid program and our registration
       in the Medicare program, we are subject to various governmental reviews
       and audits to verify our compliance with these programs and applicable laws
       and regulations. We also are subject to audits under various government
       programs in which third-party firms engaged by CMS conduct extensive
       reviews of claims data and medical and other records to identify potential
       improper payments under the Medicare program. Private pay sources also
       reserve the right to conduct audits. If billing errors are identified in the
       sample of reviewed claims, the billing error can be extrapolated to all claims
       filed which could result in a larger overpayment than originally identified in
       the sample of reviewed claims. Our costs to respond to and defend reviews
       and audits may be significant and could have a material adverse effect on
       our business, financial condition, results of operations and cash flows.
       Moreover, an adverse review or audit could result in:




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       ●     required refunding or retroactive adjustment of amounts we have
       been paid by governmental or private payers;

       ●      state or Federal agencies imposing fines, penalties and other
       sanctions on us;

       ●     loss of our right to participate in the Medicare program, state
       programs, or one or more private payer networks; or

       ●         damage to our business and reputation in various markets.

       Any one of these results could have a material adverse effect on our
       business, financial condition, results of operations and cash flows.

       22.       On April 27, 2023, Zynex issued a press release announcing financial

results for the first quarter of 2023, stating as follows in relevant part:

       First Quarter 2023 Highlights:
          • Revenue increased 36% year-over-year to $42.2 million
          • Net income of $1.6 million; Diluted EPS $0.04
          • Orders increased 61% year-over-year; highest number of orders in
          • Company history for the 4th consecutive quarter

       First Quarter 2023 Financial Results Summary:

       For the first quarter, the Company reported net revenue of $42.2 million, a
       36% increase over first quarter of 2022. Gross margins were 78% and net
       income was $1.6 million, a 14% increase year-over-year.

       23.       On July 27, 2023, Zynex issued a press release announcing financial results

for the second quarter of 2023. The press release reported touted the Company’s strong

financial results, stating as follows in relevant part:

       Key Second Quarter and Subsequent 2023 Highlights and Business
       Update

             •   Q2 2023 revenue increased 22% year-over-year to $45.0 million.
             •   Net income of $3.4 million; Diluted EPS $0.09.
             •   Orders increased 51% year-over-year; highest number of orders in
                 Company history for the 5th consecutive quarter.



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             •   FDA granted 510(k) market clearance for the Company’s CM-1600
                 blood and fluid volume monitoring device.
             •   Approved a $10.0 million share repurchase program of the
                 Company’s common stock.

                          *                    *                    *

       Second Quarter 2023 Financial Results

       Net revenue was $45.0 million for the three months ended June 30, 2023,
       an increase of 22% from $36.8 million in the prior year quarter. The growth
       in net revenue is primarily related to a 51% growth in device orders, which
       resulted from an increased customer base.

       24.       On October 26, 2023, Zynex issued a press release announcing finanical

results for the third quarter of 2023. The press release reported touted the Company’s

strong finanical results, stating as follows in relevant part:

       Key Third Quarter and 2023 Highlights and Business Update

             •   Q3 2023 revenue increased 20% year-over-year to $49.9 million.
             •   Net income of $3.6 million; Diluted EPS $0.10.
             •   Orders increased 39% year-over-year; highest number of orders in
                 Company history for the 6th consecutive quarter.
             •   Cash from operations of $8.9 million in the third quarter; highest in
                 Company history.
             •   Added three new therapy products centered around pain
                 management: Zynex Pro Thoracic Lumbar Sacral Orthosis (“TLSO”),
                 Zynex Pro Wrist, and Zynex Cryoheat.

       Management Commentary

       “The third quarter was highlighted by increasing revenue and cash flow
       momentum driven by our sixth straight quarter of record-high order
       numbers,” said Thomas Sandgaard, President and CEO of Zynex. “As we
       continue to develop the next generation of patient monitoring equipment,
       our pain management division delivered a 39% improvement in orders year-
       over-year and celebrated our 1 millionth patient treated since founding the
       company. Our continued profitability and record positive cash flow allowed
       us to announce an additional $10 million share repurchase plan.

                          *                    *                    *


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       Third Quarter 2023 Financial Results

       Net revenue was $49.9 million for the three months ended September 30,
       2023, an increase of 20% from $41.5 million in the prior year quarter. The
       growth in net revenue is primarily related to a 39% growth in device orders,
       which resulted from an increased customer base.

       25.       On February 29, 2024, Zynex, issued a press release announcing financial

results for the fourth quarter and full year ended December 31, 2023. The press release

reported touted the Company’s strong finanical results, stating as follows in relevant part:

       Key Fourth Quarter and FY 2023 Highlights and Business Update

             •   FY 2023 revenue increased 17% year-over-year to $184.3 million;
                 Q4 2023 revenue decreased 3% year-over-year to $47.3 million due
                 to a $6.2 million non-recurring write-off of slow collecting receivables
                 from a prior period which are booked as a charge against revenue.
             •   FY 2023 net income of $9.7 million; Diluted EPS $0.27; Q4 2023 net
                 income of $1.2 million; Diluted EPS $0.04.
             •   FY 2023 orders increased 43% year-over-year; Q4 orders increased
                 29% year-over-year, the highest number of orders in Company
                 history for the seventh consecutive quarter.
             •   Company record FY 2023 cash flow from operations of $17.8 million,
                 a 29% year-over-year increase.
             •   Repurchased $38.4 million of the Company’s common stock in 2023.

       Management Commentary

       “2023 was a year of continued execution for Zynex, underscored by record
       revenues and order numbers, and exciting new products and technological
       innovation,” said Thomas Sandgaard, President and CEO of Zynex. “A
       strong cadence of increasing sales and profitable growth for our pain
       management division delivered a 43% improvement in orders year-over-
       year.”

                          *                      *                    *

       “Looking ahead into 2024, we continue to focus on new products and
       building on our holistic, non-invasive approach to pain management. We
       expect 2024 net revenue to increase approximately 22% compared to 2023.
       Part of our revenue growth will come from more aggressively promoting our
       bracing line of products as well as traction, cold/post-op and compression


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       products. We are in a unique position to deliver solid revenue growth and
       profitability that allows us to invest in the business and return cash to
       shareholders at the same time,” concluded Sandgaard.

       Fourth Quarter 2023 Financial Results

       Net revenue was $47.3 million for the three months ended December 31,
       2023, compared to $48.8 million in the prior year quarter. Net revenue was
       affected by a $6.2 million non-recurring write-off of slow collecting
       receivables from a prior period which are booked as a charge against
       revenue.

                         *                    *                      *

       FY 2023 Financial Results

       Net revenue was $184.3 million for the year ended December 31, 2023, an
       increase of 17% from $158.2 million in the prior year. The growth in net
       revenue is primarily related to a 43% growth in device orders, which led to
       an increased customer base and drove higher sales of consumable
       supplies.

       26.       On March 12, 2024, the Company submitted its annual report for the fiscal

year ended December 31, 2023 on a Form 10-K filed with the SEC, affirming the

previously reported financial results (the “2023 10-K”). The report purported to warn, in

relevant part:

       We are dependent on reimbursement from third-party payers, most of
       whom are larger than we are and have substantially more employees
       and financial resources; changes in insurance reimbursement
       policies or application of them have resulted in decreased or delayed
       revenues.

       A large percentage of our revenues come from third-party payer
       reimbursement. Most of the third-party payers are large insurance
       companies with substantially more resources than we have. Upon delivery
       of our products to our patients, we directly bill the patients’ private insurance
       companies or government payers for reimbursement. If the third-party
       payers do not remit payment on a timely basis or if they change their policies
       to exclude or reduce coverage for our products, we would experience a
       decline in our revenue as well as cash flow. In addition, we may deliver
       products to patients and invoice based on past practices and billing


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       experiences only to have third-party payers later deny coverage for such
       products.

       In some cases, our delivered product may not be covered pursuant to a
       policy statement of a third-party payer, despite a payment history with the
       third-party payer and benefits to the patients. A third-party payer may
       seek repayment of amounts previously paid for covered products. We
       maintain an allowance for provider discounts and amounts intended to
       cover legitimate requests for repayment. Failure to adequately identify and
       provide for amounts for resolution of repayment demands in our allowance
       for provider discounts could have a material adverse effect on our results of
       operations and cash flows. For government healthcare programs, if we
       identify a deficiency in prior claims or practices, we may be required
       to repay amounts previously reimbursed to us by government
       healthcare programs.

       We frequently receive, and expect to continue to receive, refund requests
       from insurance providers relating to specific patients and dates of service.
       Billing and reimbursement disputes are very common in our industry. These
       requests are sometimes related to a few patients and other times include a
       significant number of refund claims in a single request which can
       accumulate to a significant amount. We review and evaluate these requests
       and determine if any refund is appropriate. During the adjudication process,
       we review claims where we are rebilling or pursuing additional
       reimbursement from that insurance provider. We frequently have significant
       offsets against such refund requests which may result in amounts that are
       due to us in excess of the amounts of refunds requested by the insurance
       providers. Therefore, at the time of receipt of such refund requests, we are
       generally unable to determine if a refund request is valid. Although we
       cannot predict whether or when a request for repayment or our subsequent
       request for reimbursement will be resolved, it is not unusual for such matters
       to be unresolved for an extended period of time. No assurances can be
       given with respect to our estimates for our allowance for provider discounts
       refund claim reimbursements and offsets or the ultimate outcome of the
       refund requests.

       27.     The 2023 10-K also purported to warn that governmental audits “could”

affect financial results, stating in relevant part:

       We face periodic reviews and billing audits from governmental and
       private payers, and these audits could have adverse results that may
       negatively impact our business.




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       As a result of our participation in the Medicaid program and our registration
       in the Medicare program, we are subject to various governmental reviews
       and audits to verify our compliance with these programs and applicable laws
       and regulations. We also are subject to audits under various government
       programs in which third-party firms engaged by CMS conduct extensive
       reviews of claims data and medical and other records to identify potential
       improper payments under the Medicare program. Private pay sources also
       reserve the right to conduct audits. If billing errors are identified in the
       sample of reviewed claims, the billing error can be extrapolated to all claims
       filed which could result in a larger overpayment than originally identified in
       the sample of reviewed claims. Our costs to respond to and defend reviews
       and audits may be significant and could have a material adverse effect on
       our business, financial condition, results of operations, and cash flows.
       Moreover, an adverse review or audit could result in:

       ●     required refunding or retroactive adjustment of amounts we have
       been paid by governmental or private payers;

       ●      state or Federal agencies imposing fines, penalties, and other
       sanctions on us;

       ●     loss of our right to participate in the Medicare program, state
       programs, or one or more private payer networks; or

       ●         damage to our business and reputation in various markets.

       Any one of these results could have a material adverse effect on our
       business, financial condition, results of operations, and cash flows.

       28.       On April 30 2024, Zynex issued a press release announcing financial results

for the first quarter of 2024, stating as follows in relevant part:

        Key First Quarter Highlights and Business Update

             •   Q1 2024 revenue increased 10% year-over-year to $46.5 million; Q1
                 2024 revenue underperformed guidance of $47.5 million due to
                 payments from a number of insurers being delayed due to a cyber
                 incident, which impacted industry-wide payers. Zynex expects the
                 revenue for the full year to remain as originally forecasted and
                 recognize delayed revenue over the remainder of the year.
             •   Q1 2024 net income of $10,000; Diluted EPS $0.00.
             •   Q1 2024 orders increased 23% year-over-year, the highest number
                 of orders in Company history for the eighth consecutive quarter.



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             •   Q1 2024 cash flow from operations of $2.1 million, a 7% year-over-
                 year increase.
             •   Repurchased $13.4 million of the Company’s common stock in Q1
                 2024.

       Management Commentary

       “During the first quarter of 2024, we continued our focus on order growth,
       FDA approvals of next-generation devices, and new therapy products,” said
       Thomas Sandgaard, President, and CEO of Zynex. “Approximately $1.0
       million in revenue for the quarter was impacted by payments from a large
       number of insurers being delayed due to a cyber incident which impacted
       payers industry-wide. We expect to recognize that revenue over the
       remainder of the year and reaffirm 2024 guidance of at least $227 million.
       In the first quarter, increasing sales and profitable growth for our pain
       management division delivered a 23% improvement in orders year-over-
       year. We continued our share repurchase plan and repurchased $13.4
       million of our common stock in Q1 2024 and $78.5 million over the last
       twenty-four months.

                          *                   *                    *

       “We expect 2024 net revenue to increase approximately 23% compared to
       2023. Innovative new products and aggressive promotion from an
       expanding direct salesforce are diversifying revenue streams and ensuring
       sustained growth. We look forward to additional updates in the months to
       come as we work to build long-term value for our shareholders,” concluded
       Sandgaard.

       First Quarter 2024 Financial Results

       Net revenue was $46.5 million for the three months ended March 31, 2024,
       compared to $42.2 million in the prior year quarter. Net revenue was
       affected by payments from a number of insurers being delayed due to a
       cyber incident which impacted healthcare payers industry-wide.

       29.       The above statements identified in ¶¶ 19-28 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1)

that Zynex shipped products, including electrodes, in excess of need; (2) that, as a result

of this practice, the Company inflated its revenue; (3) that the Company’s practice of filing


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false claims drew scrutiny from insurers, including Tricare; (4) that, as a result, it was

reasonably likely that Zynex would face adverse consequences, including removal from

insurer networks and penalties from the federal government; and (5) that, as a result of

the foregoing, Defendants’ positive statements about the Company’s business,

operations, and prospects were materially misleading and/or lacked a reasonable basis.

        30.   The truth began to emerge on June 4, 2024, when medical journal STAT

published a special investigative report on Zynex entitled “How a device maker inundated

pain patients with unwanted batteries and surprise bills.” The report Zynex engaged in an

“oversupplying scheme” by sending inordinate amounts of monthly supplies like electrode

pads and batteries in order to “bill insurers for thousands of dollars more than it otherwise

could.” The report further revealed that, as a result of this practice, insurers were “kicking

the company out of network.” Specifically, the reported stated the following, in relevant

part:

        How A Device Maker Inundated Pain Patients With Unwanted Batteries
        And Surprise Bills

        By Lizzy Lawrence, STAT News

              Zynex Medical, with headquarters in Englewood, Colo., has
        manufactured small machines that deliver different series of electrical
        pulses to the injured areas via wires and electrode pads.

               Michelle Bean is drowning in batteries she doesn’t need. For two
        years, the batteries and electrode pads arrived each month at her home in
        West Boylston. In theory, they’re supposed to power a pain management
        device she ordered from a company called Zynex Medical in 2020. In reality,
        they take up an annoying amount of space.

                They became a minor nuisance in her life. Before she bought the
        unit, Zynex assured her the supplies would be covered by Tufts Health Plan,
        her insurance company. But a year ago, Zynex informed her that the Tufts



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      plan had never paid, and instead, those packages were going to cost her
      almost $1,000.

             “I just feel like the whole thing was a way to make money and prey
      on people,” Bean said. “What about the elderly, or people that are on a fixed
      income? It just makes me really angry.” She’d used the device only a few
      times, which was somewhat helpful for her sciatica.

             The batteries are ostensibly needed to keep the device running
      indefinitely. But the regular shipments also allow Zynex to bill insurers
      for thousands of dollars more than it otherwise could.

            The model has worked well enough for Zynex, with almost 70
      percent of its $184 million revenue in 2023 coming from such supplies.

            The problem is that insurers are growing wise to the program
      and kicking the company out of network. That leaves patients on the
      hook for medical supplies they never asked for or used.

            Bean hasn’t paid; she threatened legal action and hasn’t heard from
      the company since.

             STAT interviewed five other patients in the same predicament as
      Bean, and reviewed dozens of similar complaints in online forums. Zynex’s
      strategy of sending unsolicited supplies to patients has also led to an
      unpleasant work environment. Zynex did not respond to STAT’s multiple
      requests for comment, over the phone and email, as well as a detailed list
      of questions.

            Four former employees told STAT the battery issue was
      systemic, frequently costing the company business and requiring its
      500 sales reps to scour for uninitiated clinicians.

              The story of Zynex shows how easy it is for patients to become
      trapped in a medical device company’s oversupplying scheme. The
      practice is rampant in health care, but rarely impacts insurers’ bottom lines
      enough to put companies like Zynex under regulatory or legal scrutiny. As a
      result, patients are left to fend for themselves.

             “These are all perpetuated in the same manner,” said Eric
      Rubenstein, a health care fraud expert who worked on cases for the
      Department of Health and Human Services. “The circus never changes. It’s
      the clowns that recycle themselves.” Profits and pulses Zynex Medical is
      the brainchild of Danish entrepreneur Thomas Sandgaard, who launched
      the company in 1996. Sandgaard told the Denver Business Journal in 2012


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       that he was drawn to inventions from an early age. He failed to get funding
       for a 1987 venture meant to help people send faxes. So he turned to medical
       devices.

                          *                     *                    *

             Sometimes, the government challenges these companies.
       Zynex’s now-defunct competitor Empi had to pay the US Department
       of Justice $7.62 million in 2018 for billing Tricare, the military’s health
       insurance, for electrode pads its beneficiaries did not need.

              But so far, no major health insurers have pursued legal action against
       Zynex. It has faced smaller challenges: Travelers Insurance filed a sealed
       lawsuit in a California court against the company this past summer, and in
       2014, a former Zynex billing employee sued the company for allegedly
       fraudulently billing Medicare for its monthly shipments. That employee
       dropped the case in 2015.

       31.       On this news, Zynex’s stock price fell $0.50 per share, or 5%, to close at

$9.35 per share on June 4, 2024, on unusually heavy trading volume.

       32.       On July 25, 2024, Zynex issued a press release announcing financial results

for the second quarter of 2024, stating as follows in relevant part:

       Key Second Quarter Highlights and Business Update

             •   Q2 2024 orders increased 20% year-over-year, the highest number
                 of orders in Company history for the ninth consecutive quarter.
             •   Q2 2024 revenue increased 11% year-over-year to $49.9 million; Q2
                 2024 revenue was lower than previous guidance of $52.0 million
                 primarily related to a reduction in sales representatives and forgoing
                 current sales to focus on profitable growth and rep productivity, and
                 a changing product mix.
             •   Q2 2024 net income of $1.2 million; Diluted EPS $0.04.
             •   Year-to-Date cash flow from operations of $3.2 million, a 20% year-
                 over-year increase.
             •   Repurchased $2.2 million of the Company’s common stock in Q2
                 2024.

       Management Commentary




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       “The second quarter of 2024 was highlighted by a strong cadence of order
       growth and revenue as we work toward FDA approvals of next-generation
       devices and launch of new pain management products,” said Thomas
       Sandgaard, President and CEO of Zynex.

                          *                    *                     *

       “In the second quarter, increasing sales and profitable growth for our pain
       management division delivered a 20% improvement in orders year-over-
       year. Revenue during the quarter was impacted by a continued change in
       product mix, with sales of our private labeled pain management products
       growing more than anticipated. While this growth diversifies revenue, these
       product sales are one-time and lack the trailing revenue model present in
       our electrotherapy products. In addition, as we emphasize profitable growth,
       we continued our focus on sales rep productivity and separated more
       underperforming reps than initially anticipated, which decreases near-term
       revenue but leaves us in a stronger position moving forward.

                          *                    *                     *

       Second Quarter 2024 Financial Results

       Net revenue was $49.9 million for the three months ended June 30, 2024,
       compared to $45.0 million in the prior year quarter, an increase of 11%. The
       increase in net revenue was primarily related to a 20% growth in device
       orders which resulted from a larger customer base and led to increased
       sales of consumable supplies, offset by a reduction in sales representatives
       and forgoing current sales to focus on profitable growth and rep productivity.

       33.       On October 24, 2024, Zynex issued a press release announcing financial

results for the third quarter of 2024, stating as follows in relevant part:

       Key Third Quarter Highlights and Business Update

             •   Q3 2024 orders increased 13% year-over-year.
             •   Q3 2024 net revenue of $50.0 million.
             •   Q3 2024 net income of $2.4 million; Diluted EPS $0.07.
             •   Q3 2024 cash flow from operations of $7.1 million.
             •   Received FDA Clearance for new TensWave device

       Management Commentary

       “In the third quarter of 2024 we continued our steady growth in orders as
       we positioned the company for long-term profitable growth,” said Thomas


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      Sandgaard, President and CEO of Zynex. “Positive cash flow remains
      strong and both revenue and earnings were within guidance for the third
      quarter.

      “Our Pain Management division delivered a 13% improvement in orders
      year-over-year. We continue to see success evolving our pain management
      division to achieve our strategic goal of diversifying revenue streams
      through increased orders in orthopedic products. Revenue per sales rep
      increased 25% year-over-year to approximately $530,000 in the third
      quarter of 2024. We are working to expedite the onboarding of new sales
      reps while maintaining a high standard for productivity.

                       *                    *                     *

      “Looking ahead, we will continue to diversify our pain management revenue
      stream with the introduction of new therapy products. Aggressive promotion
      of products from our salesforce will ensure sustained profitable growth. In
      2025, we should return to our normal top-line growth in our pain
      management division of approximately 20%. Taken together, we believe our
      strategy is positioning us to become the world’s premier provider of holistic,
      non-invasive approaches to pain management,” concluded Sandgaard.

      Third Quarter 2024 Financial Results

      Net revenue was $50.0 million for the three months ended September 30,
      2024, compared to $49.9 million in the prior year quarter.

      34.    The above statements identified in ¶¶ 32-33 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1)

that the Company’s practice of filing false claims drew scrutiny from insurers, including

Tricare; (2) that, as a result, it was reasonably likely that Zynex would face adverse

consequences, including removal from insurer networks and penalties from the federal

government; and (3) that, as a result of the foregoing, Defendants’ positive statements

about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis.



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                        Disclosures at the End of the Class Period

       35.       On March 11, 2025, after the market closed, Zynex reported its fourth

quarter and full year 2024 financial results, revealing a significant revenue “shortfall” in

the quarter “due to slower than normal payments from certain payers.” Zynex further

revealed “Tricare has temporarily suspended payments as they review prior claims.”

The press release further revealed “TriCare currently represents approximately 20-25%

of [Zynex’s] annual revenue.” Specifically, the press release reported the following, in

relevant part:

       Key Highlights and Business Update

             •   FY 2024 orders increased 16% year-over-year
             •   FY 2024 net revenue increased 4% to $192.4 million
             •   FY 2024 net income of $3.0 million; Diluted EPS $0.09
             •   FY 2024 cash flow from operations of $12.7 million
             •   Received FDA Clearance for new TensWave device


       Management Commentary

       “In the fourth quarter of 2024 we continued our steady growth in orders and
       delivered another year of revenue growth and profitability,” said Thomas
       Sandgaard, President and CEO of Zynex. “We generated $12.7 million of
       positive cash flow from operations and $10.9 million of Adjusted EBITDA in
       2024.

       “Our fourth quarter revenue was less than expected. The shortfall was
       due to slower than normal payments from certain payers and we were
       recently notified that Tricare has temporarily suspended payments as
       they review prior claims. We continue to be in-network and have
       maintained good relations with Tricare. We have a meeting with Tricare in
       April and believe we have good evidence to get payments reinstated.
       TriCare currently represents approximately 20-25% of our annual revenue.
       As directed by Tricare, we continue to support both existing patients and
       new patients as we receive their prescriptions.




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       “Due to the temporary payment suspension and lack of clarity on the timing
       of a resolution, we are restructuring our staff to align with current revenue.
       We are decreasing our overall staff by approximately 15%, which primarily
       affects employees in our corporate departments. This staff reduction along
       with other expense reductions made during the second half of 2024 and the
       first quarter of 2025 will result in savings of approximately $35 million
       annually. Although these processes are never easy, it is critical for us to be
       prudent and conservative in adapting to external changes and execute
       these expense adjustments immediately. We are confident that long-term,
       our pain management business is still solid with significant growth potential.

       36.    On this news, Zynex’s stock price fell $3.59 per share, or 51.3%, to close at

$3.41 per share on March 12, 2025, on unusually heavy trading volume.

                            CLASS ACTION ALLEGATIONS

       37.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired Zynex securities between March 13, 2023 to March 11,

2025, inclusive, and who were damaged thereby (the “Class”). Excluded from the Class

are Defendants, the officers and directors of the Company, at all relevant times, members

of their immediate families and their legal representatives, heirs, successors, or assigns,

and any entity in which Defendants have or had a controlling interest.

       38.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Zynex’s shares actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time

and can only be ascertained through appropriate discovery, Plaintiff believes that there

are at least hundreds or thousands of members in the proposed Class. Millions of Zynex

shares were traded publicly during the Class Period on the NASDAQ. Record owners

and other members of the Class may be identified from records maintained by Zynex or


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its transfer agent and may be notified of the pendency of this action by mail, using the

form of notice similar to that customarily used in securities class actions.

        39.   Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation

of federal law that is complained of herein.

        40.   Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities

litigation.

        41.   Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among

the questions of law and fact common to the Class are:

              (a)    whether the federal securities laws were violated by Defendants’ acts

as alleged herein;

              (b)    whether statements made by Defendants to the investing public

during the Class Period omitted and/or misrepresented material facts about the business,

operations, and prospects of Zynex; and

              (c)    to what extent the members of the Class have sustained damages

and the proper measure of damages.

        42.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is impracticable.

Furthermore, as the damages suffered by individual Class members may be relatively

small, the expense and burden of individual litigation makes it impossible for members of



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the Class to individually redress the wrongs done to them. There will be no difficulty in

the management of this action as a class action.

                           UNDISCLOSED ADVERSE FACTS

       43.    The market for Zynex’s securities was open, well-developed and efficient at

all relevant times. As a result of these materially false and/or misleading statements,

and/or failures to disclose, Zynex’s securities traded at artificially inflated prices during

the Class Period. Plaintiff and other members of the Class purchased or otherwise

acquired Zynex’s securities relying upon the integrity of the market price of the Company’s

securities and market information relating to Zynex, and have been damaged thereby.

       44.    During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Zynex’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’

statements, as set forth herein, not false and/or misleading.          The statements and

omissions were materially false and/or misleading because they failed to disclose material

adverse information and/or misrepresented the truth about Zynex’s business, operations,

and prospects as alleged herein.

       45.    At all relevant times, the material misrepresentations and omissions

particularized in this Complaint directly or proximately caused or were a substantial

contributing cause of the damages sustained by Plaintiff and other members of the Class.

As described herein, during the Class Period, Defendants made or caused to be made a

series of materially false and/or misleading statements about Zynex’s financial well-being

and prospects. These material misstatements and/or omissions had the cause and effect



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of creating in the market an unrealistically positive assessment of the Company and its

financial well-being and prospects, thus causing the Company’s securities to be

overvalued and artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other members of

the Class purchasing the Company’s securities at artificially inflated prices, thus causing

the damages complained of herein when the truth was revealed.

                                    LOSS CAUSATION

       46.    Defendants’ wrongful conduct, as alleged herein, directly and proximately

caused the economic loss suffered by Plaintiff and the Class.

       47.    During the Class Period, Plaintiff and the Class purchased Zynex’s

securities at artificially inflated prices and were damaged thereby. The price of the

Company’s securities significantly declined when the misrepresentations made to the

market, and/or the information alleged herein to have been concealed from the market,

and/or the effects thereof, were revealed, causing investors’ losses.

                                SCIENTER ALLEGATIONS

       48.    As alleged herein, Defendants acted with scienter since Defendants knew

that the public documents and statements issued or disseminated in the name of the

Company were materially false and/or misleading; knew that such statements or

documents would be issued or disseminated to the investing public; and knowingly and

substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws. As set forth

elsewhere herein in detail, the Individual Defendants, by virtue of their receipt of



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information reflecting the true facts regarding Zynex, their control over, and/or receipt

and/or modification of Zynex’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary

information concerning Zynex, participated in the fraudulent scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE

                         (FRAUD-ON-THE-MARKET DOCTRINE)

       49.    The market for Zynex’s securities was open, well-developed and efficient at

all relevant times. As a result of the materially false and/or misleading statements and/or

failures to disclose, Zynex’s securities traded at artificially inflated prices during the Class

Period. On May 3, 2023, the Company’s share price closed at a Class Period high of

$14.56 per share. Plaintiff and other members of the Class purchased or otherwise

acquired the Company’s securities relying upon the integrity of the market price of Zynex’s

securities and market information relating to Zynex, and have been damaged thereby.

       50.    During the Class Period, the artificial inflation of Zynex’s shares was caused

by the material misrepresentations and/or omissions particularized in this Complaint

causing the damages sustained by Plaintiff and other members of the Class.                   As

described herein, during the Class Period, Defendants made or caused to be made a

series of materially false and/or misleading statements about Zynex’s business,

prospects, and operations. These material misstatements and/or omissions created an

unrealistically positive assessment of Zynex and its business, operations, and prospects,

thus causing the price of the Company’s securities to be artificially inflated at all relevant

times, and when disclosed, negatively affected the value of the Company shares.



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Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

       51.    At all relevant times, the market for Zynex’s securities was an efficient

market for the following reasons, among others:

              (a)    Zynex shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

              (b)    As a regulated issuer, Zynex filed periodic public reports with the

SEC and/or the NASDAQ;

              (c)    Zynex regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press

releases on the national circuits of major newswire services and through other wide-

ranging public disclosures, such as communications with the financial press and other

similar reporting services; and/or

              (d)    Zynex was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the

sales force and certain customers of their respective brokerage firms. Each of these

reports was publicly available and entered the public marketplace.

       52.    As a result of the foregoing, the market for Zynex’s securities promptly

digested current information regarding Zynex from all publicly available sources and

reflected such information in Zynex’s share price. Under these circumstances, all

purchasers of Zynex’s securities during the Class Period suffered similar injury through



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their purchase of Zynex’s securities at artificially inflated prices and a presumption of

reliance applies.

       53.    A Class-wide presumption of reliance is also appropriate in this action under

the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S.

128 (1972), because the Class’s claims are, in large part, grounded on Defendants’

material misstatements and/or omissions. Because this action involves Defendants’

failure to disclose material adverse information regarding the Company’s business

operations and financial prospects—information that Defendants were obligated to

disclose—positive proof of reliance is not a prerequisite to recovery. All that is necessary

is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in making investment decisions. Given the importance of the

Class Period material misstatements and omissions set forth above, that requirement is

satisfied here.

                                   NO SAFE HARBOR

       54.    The statutory safe harbor provided for forward-looking statements under

certain circumstances does not apply to any of the allegedly false statements pleaded in

this Complaint. The statements alleged to be false and misleading herein all relate to

then-existing facts and conditions. In addition, to the extent certain of the statements

alleged to be false may be characterized as forward looking, they were not identified as

“forward-looking statements” when made and there were no meaningful cautionary

statements identifying important factors that could cause actual results to differ materially

from those in the purportedly forward-looking statements. In the alternative, to the extent



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that the statutory safe harbor is determined to apply to any forward-looking statements

pleaded herein, Defendants are liable for those false forward-looking statements because

at the time each of those forward-looking statements was made, the speaker had actual

knowledge that the forward-looking statement was materially false or misleading, and/or

the forward-looking statement was authorized or approved by an executive officer of

Zynex who knew that the statement was false when made.

                                      FIRST CLAIM

                   Violation of Section 10(b) of The Exchange Act and

                            Rule 10b-5 Promulgated Thereunder

                                  Against All Defendants

       55.     Plaintiff repeats and re-alleges each and every allegation contained above

as if fully set forth herein.

       56.     During the Class Period, Defendants carried out a plan, scheme and course

of conduct which was intended to and, throughout the Class Period, did: (i) deceive the

investing public, including Plaintiff and other Class members, as alleged herein; and (ii)

cause Plaintiff and other members of the Class to purchase Zynex’s securities at

artificially inflated prices. In furtherance of this unlawful scheme, plan and course of

conduct, Defendants, and each defendant, took the actions set forth herein.

       57.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii)

made untrue statements of material fact and/or omitted to state material facts necessary

to make the statements not misleading; and (iii) engaged in acts, practices, and a course

of business which operated as a fraud and deceit upon the purchasers of the Company’s




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securities in an effort to maintain artificially high market prices for Zynex’s securities in

violation of Section 10(b) of the Exchange Act and Rule 10b-5. All Defendants are sued

either as primary participants in the wrongful and illegal conduct charged herein or as

controlling persons as alleged below.

       58.    Defendants, individually and in concert, directly and indirectly, by the use,

means or instrumentalities of interstate commerce and/or of the mails, engaged and

participated in a continuous course of conduct to conceal adverse material information

about Zynex’s financial well-being and prospects, as specified herein.

       59.    Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices,

and a course of conduct as alleged herein in an effort to assure investors of Zynex’s value

and performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Zynex and its

business operations and future prospects in light of the circumstances under which they

were made, not misleading, as set forth more particularly herein, and engaged in

transactions, practices and a course of business which operated as a fraud and deceit

upon the purchasers of the Company’s securities during the Class Period.

       60.    Each of the Individual Defendants’ primary liability and controlling person

liability arises from the following facts: (i) the Individual Defendants were high-level

executives and/or directors at the Company during the Class Period and members of the

Company’s management team or had control thereof; (ii) each of these defendants, by



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virtue of their responsibilities and activities as a senior officer and/or director of the

Company, was privy to and participated in the creation, development and reporting of the

Company’s internal budgets, plans, projections and/or reports; (iii) each of these

defendants enjoyed significant personal contact and familiarity with the other defendants

and was advised of, and had access to, other members of the Company’s management

team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware

of the Company’s dissemination of information to the investing public which they knew

and/or recklessly disregarded was materially false and misleading.

       61.    Defendants had actual knowledge of the misrepresentations and/or

omissions of material facts set forth herein, or acted with reckless disregard for the truth

in that they failed to ascertain and to disclose such facts, even though such facts were

available to them. Such defendants’ material misrepresentations and/or omissions were

done knowingly or recklessly and for the purpose and effect of concealing Zynex’s

financial well-being and prospects from the investing public and supporting the artificially

inflated price of its securities. As demonstrated by Defendants’ overstatements and/or

misstatements of the Company’s business, operations, financial well-being, and

prospects throughout the Class Period, Defendants, if they did not have actual knowledge

of the misrepresentations and/or omissions alleged, were reckless in failing to obtain such

knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.




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        62.   As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price

of Zynex’s securities was artificially inflated during the Class Period. In ignorance of the

fact that market prices of the Company’s securities were artificially inflated, and relying

directly or indirectly on the false and misleading statements made by Defendants, or upon

the integrity of the market in which the securities trades, and/or in the absence of material

adverse information that was known to or recklessly disregarded by Defendants, but not

disclosed in public statements by Defendants during the Class Period, Plaintiff and the

other members of the Class acquired Zynex’s securities during the Class Period at

artificially high prices and were damaged thereby.

        63.   At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had

Plaintiff and the other members of the Class and the marketplace known the truth

regarding the problems that Zynex was experiencing, which were not disclosed by

Defendants, Plaintiff and other members of the Class would not have purchased or

otherwise acquired their Zynex securities, or, if they had acquired such securities during

the Class Period, they would not have done so at the artificially inflated prices which they

paid.

        64.   By virtue of the foregoing, Defendants violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.




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       65.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their respective

purchases and sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM

                      Violation of Section 20(a) of The Exchange Act

                                Against the Individual Defendants

       66.     Plaintiff repeats and re-alleges each and every allegation contained above

as if fully set forth herein.

       67.     Individual Defendants acted as controlling persons of Zynex within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-

level positions and their ownership and contractual rights, participation in, and/or

awareness of the Company’s operations and intimate knowledge of the false financial

statements filed by the Company with the SEC and disseminated to the investing public,

Individual Defendants had the power to influence and control and did influence and

control, directly or indirectly, the decision-making of the Company, including the content

and dissemination of the various statements which Plaintiff contends are false and

misleading. Individual Defendants were provided with or had unlimited access to copies

of the Company’s reports, press releases, public filings, and other statements alleged by

Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be

corrected.




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      68.    In particular, Individual Defendants had direct and supervisory involvement

in the day-to-day operations of the Company and, therefore, had the power to control or

influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

      69.    As set forth above, Zynex and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue

of their position as controlling persons, Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act. As a direct and proximate result of Defendants’

wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases of the Company’s securities during the Class Period.

                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      (a)    Determining that this action is a proper class action under Rule 23 of the

Federal Rules of Civil Procedure;

      (b)    Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a

result of Defendants’ wrongdoing, in an amount to be proven at trial, including interest

thereon;

      (c)    Awarding Plaintiff and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      (d)    Such other and further relief as the Court may deem just and proper.




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                               JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.

Dated: March 20, 2025                             /s/ Pavithra Rajesh
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